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                                                              Thursday, 20 December, 2018 04:52:27 PM
                                                                           Clerk, U.S. District Court, ILCD

                       UNITED STATES DISTRICT COURT
                    FOR THE CENTRAL DISTRICT Of ILLINOIS

                                                  )
AARON O’NEAL                                      )
                                                  )
                    Plaintiff,                    )       Case No. 18-CV-4063-SEM-TSH
             v.                                   )
                                                  )
MANUEL ROJAS, et al.                              )
                                                  )
                    Defendants.                   )




                                          ORDER

      Upon consideration of Plaintiff’s Motion to Amend the Scheduling Order, IT IS

HEREBY ORDERED that the motion is Granted. The scheduling order is amended as follows:

             a.     December 19, 2018: Plaintiff to file motion for summary judgment as to
                    exhaustion;

             b.     December 19, 2018: Plaintiff to provide initial disclosures to Defendants;

             c.     January 16, 2019: Defendants to provide initial disclosures to Plaintiff;

             d.     February 20, 2019: Plaintiff to file motion to substitute any “Doe”
                    Defendants;

             e.     April 17, 2019: Plaintiff to provide expert disclosures to Defendants;

             f.     May 15, 2019: Defendants to provide expert disclosures to Plaintiff;

             g.     July 17, 2019: Close of discovery;

             h.     August 14, 2019: Deadline to file summary judgment motions.


        December 20 2018                                    s/ Tom Schanzle-Haskins
Dated:__________________                                  _______________________
                                                          Tom Schanzle-Haskins
                                                          United States Magistrate Judge
